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              NOT SCHEDULED FOR ORAL ARGUMENT

                               No. 24-1004

            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT




            RADIO COMMUNICATIONS CORPORATION,
                                  Petitioner,
                           v.

            FEDERAL COMMUNICATIONS COMMISSION,
                                  Respondent.



                 PETITIONER’S FINAL REPLY BRIEF

            ____________________________________________
            ____________________________________________

              On Petition for Review of an Order from the
           Federal Communications Commission (FCC 23-112)
                 Adopting Implementing Rules For The
                       Low Power Protection Act
           ____________________________________________
           ____________________________________________


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                                  III. Glossary



App.--The Deferred Appendix filed as a separate volume in this case.

Addend.--The Addendum attached to this Reply Brief.

CBPA--Community Broadcasters Protection Act of 1999 enacted by Congress and
amending the FCA to protect low power TV licenses by creating a new “primary”
Class A TV station class with the “same” license terms as full-power TV stations.

De Facto Reallocation Policy--A broadcast license allocation policy the Commission
eliminated in 1983 as being anti-competitive, seeking to promote low power TV
service in urban areas. The policy involved an implicit license assignment from a
small proposed Section 307(b) community of license to the larger metro community
to preclude licensing of the new service. The Commission abandoned the policy
because incumbent full-power broadcasters misused the policy to avoid competition.
Report and Order, In the Matter of The Suburban Community Policy, the Berwick
Doctrine, and the De Facto Reallocation Policy (De Facto Reallocation), 93
F.C.C.2d 436 (1983).

Disqualifying Regions--The Nielsen DMA television markets FCC 23-112 uses in a
manner to deny Class A licenses to more than 98% of the Nation’s population.

FCA--Federal Communications Act of 1934, as amended.

FCC Brief--Brief for Respondents [2055866] filed May 22, 2024 (No. 24-1004).

FCC Opposition--Respondent Federal Communications Commission’s Opposition
to Emergency Motion for Stay, Expedited Review, and Summary Reversal [2042388],
filed February 26, 2024 filed in this proceeding (No. 24-1004).

LPPA--Low Power Protection Act (2023) enacted by Congress and amending the
FCA to protect low power TV licenses by creating a second, new “primary” Class A
TV station class with the “same” license terms as full-power TV stations. Low Power
Protection Act, Pub. L. 117-344, 136 Stat. 6193 (Jan. 5, 2023).


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LPTV--In 1982 the Commission created a secondary, low-power TV service to
compete against full-power TV service in urban areas.

NAB’s Clients--FCC 23-112 at 21-22 ¶ 38, App. 00024-25, grants the National
Association of Broadcasters’s objection to LPPA’s purpose and protects NAB’s full-
service TV clients (NAB’s Clients) because “elevating LPTV stations from secondary
to primary Class A status comes at the cost of ‘effectively block[ing] coverage and
service improvements by full-service stations.’”

Petitioner Brief--Petitioner Brief [2050660] filed April 22, 2024 (No. 24-1004).

RCC Comments & RCC Reply: RCC’s May 4, 2023 Comments, App. 00044, and
RCC’s June 13, 2023 Reply Comments, App. 00072, filed in FCC Docket No. 23-
126, the rulemaking underlying this review proceeding.

RF--Radio Frequency -- often used as “RF engineer.”




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                            IV. Summary Of Argument

      The FCC Brief ignores and miscasts many of RCC’s arguments. Even though

the very first sentence of the FCC Brief at 1 states that “this case presents a simple

question of statutory interpretation,” its interpretation requires alteration of the LPPA

defined term “Designated Market Area” and deletion of the verb “operate” from the

LPPA. FCC Brief at 21-23. FCC Brief asserts that the Commission has addressed

all issues, FCC Brief at 29-31, therefore, no purpose is served by remand except to

instruct the Commission to issue nationwide Class A licensing rules.1

                                V. Argument
               A. Issues FCC 23-112 And The FCC Brief Ignore
           1. Class A Regulations Adopted To Service NAB’s Clients

      “FCC 23-112 acknowledges that NAB’s position is anti-competitive and that

NAB is disinterested in the proceeding.” Petitioner Brief at 37 citing FCC 23-112 at

5 n.28, App. 00008. However, the Commission fails to address the fact that



1
  On May 7, 2024 undersigned counsel noticed that RCC’s Initial Brief at 52 (12,923
words) transcribed a direct quote from LPPA Section 2(c)(3)(A), Addend. 0009,but
inadvertently omitted the words “otherwise expressly.” Respondents were promptly
notified and provided with an informal errata sheet, attached hereto for the Court’s
reference. Addend. at 0001. Because RCC’s Initial Brief quotes the statutory phrase
several other times, Brief at 3, 10, 15, 49 (explaining how the text of the LPPA differs
from the CBPA), 50, 52 (above where the transcription error appears), and because
the statutory text controls, the error is minor, even though the inadvertently omitted
statutory text is significant to RCC’s argument. RCC requests that the Court read
page 52 of RCC’s Initial Brief to include the missing statutory text. Respondents
consented to this manner of informing the Court of the clerical error. RCC’s Final
Brief will contain the correct text and updated word count.

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       NAB’s Comments work against, conflict with, and are contrary to [ ] LPTV
       interests because the NAB “urges the Commission to limit” the application of
       the LPPA for the purpose of protecting full-power stations. NAB’s Comments
       do not protect LPTV interests, the NAB’s Comments promote full-power TV
       interests over the LPPA protected LPTV interests. NAB Comments at 4 [App.
       00069]. The NAB’s use of this rulemaking proceeding as a tool to harm LPTV
       licensees is plainly beyond the scope of the instant rulemaking proceeding
       which seeks to protect LPTV licensees.

RCC Reply at 2-3, App. 00076-77.

       Rather than discuss the scope and purpose of the rulemaking proceeding, FCC

23-112 at 21-22 ¶ 38, App. 00024-25, explicitly and inexplicably, adopts

disinterested NAB Clients’ anti-competitive lobbying position by finding that

nationwide LPTV protection cannot arise under the LPPA because “elevating LPTV

stations from secondary to primary Class A status comes at the cost of ‘effectively

block[ing] coverage and service improvements by full-service stations.’” RCC Brief

at ix, 3, 9, 11, 13, 20, 24, 27, 37, 53.2

       The FCC Brief fails to discuss the fact that FCC 23-112 protects a group of

full-service broadcasters, who are not protected by the LPPA, at the expense of LPPA



2
    “FCC 23-112’s adoption of NAB’s anti-competitive position, under LPPA’s
protective banner, is explicit and jaw-dropping.” Petitioner Brief at 37. Even though
LPTV licensees are the LPPA’s nominally protected entities, FCC 23-112 protects
NAB’s Clients rather than LPTV licensees. The LPPA’s LPTV protection purpose
is manifestly clear, but any doubt about who is protected under the LPPA can be
resolved with reference to the Act’s title, in the absence of conflicting statutory text.
A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts 221 (2012)
citing INS v. Center for Immigration Rights, Inc., 502 U.S. 183, 189 (1991) (“the title
of a statute or section can aid in resolving an ambiguity in the legislation’s text”).

                                            2
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protected LPTV licensees. RCC Brief at 22 (“FCC 23-112 leave[s] unexplained how

protection of NAB’s Clients, and the promotion of service to large swaths of empty

land, promotes the nationwide protection of LPTV licenses and the creation of Class

A licenses”). The FCC Brief doesn’t even reference NAB’s Clients, much less justify

the economic protection of NAB’s Clients at the expense of protected LPTV licenses.

      The Commission’s facially absurd justification for ignoring the LPPA’s plain

purpose, that denying the LPPA’s benefits to more than 98% of the Nation’s

population is a “balanced approach,” FCC 23-112 at 22 ¶ 38, App. 00025, is a wholly

inadequate justification for eviscerating the LPPA. Petitioner Brief at 25, 36-38, 41-

42. FCC 23-112 is arbitrary and capricious.

        2. Nationwide Class A Licensing “Among The Several States”

      FCC Brief at 25 argues that

      Nor is Congress’s chosen approach as dramatic as RCC suggests: while 98
      percent of television households may fall outside eligible Designated Market
      Areas (Br. 38), 33 out of 210 Designated Market Areas fall within the statute’s
      95,000 television household threshold.

      With all due respect, the Commission’s promotion of TV service to empty land

rather than to people is not responsive to RCC’s argument that “FCC 23-112’s limited

LPPA reading causes FCC 23-112 to fail as a matter of settled constitutional law.”

Art. I, Sec. 8, Cl. 3 of the Constitution limits Congress, and the Commission, to

regulating commerce “among the states, i.e., interstate commerce.” RCC Brief at 25-



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26.3 FCC 23-112 and the FCC Brief fail to point to any Constitutional or statutory

text which explicitly authorizes FCC 23-112’s non-nationwide Class A licensing

regulations limited to just the lower “33 out of 210 Designated Market Areas”

covering less than 2% of the Nation’s population.

       There are two ways in which Congress may exercise its interstate commerce

power: Congress may enact a statute which applies nationwide, such as is provided

in Section 307(b).     Alternatively, Congress may enact a statute which contains

specific findings that the regulation of local economic activity, aggregated on a

nationwide basis, “substantially affects interstate commerce.” RCC Brief at 14, 24-26

citing United States v. Lopez, 514 U.S. 549 (1995); Wickard v. Filburn, 317 U.S. 111

(1942); Miss. Comm’n on Envtl. Quality v. EPA, 790 F.3d 138 (CADC 2015).

       The FCC Brief advances a novel theory that regulation of several scattered,

sparsely populated rural DMAs, where there is no nationwide aggregation, constitutes

the regulation of interstate commerce as defined by the Constitution. The FCC’s

novel theory of interstate economic regulation fails for three reasons.




3
   Art. I, Sec. 8, Cl. 3 provides that “Congress shall have power . . . to regulate
commerce . . . among the several States.” Emphasis added. Section 307(b) of the
Communications Act mirrors the Constitution’s Commerce Clause text by requiring
the Commission to distribute licenses “among the several States and communities
as to provide a fair, efficient, and equitable distribution of radio service to each of the
same.” Emphasis added. See RCC Comments at 6, App. 00052 (citing Section
307(b)) to RCC Reply Comments at 6, App. 00080 (citing Art. I, Sec. 8, Cl. 3).

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      First, the FCC Brief provides no textual reference or case precedent showing

constitutional authority to issue non-nationwide Class A licensing regulations limited

to the smallest 33 of 210 Nielsen DMAs affecting less than 2% of the Nation’s

population.   Second, there is no specific Congressional finding supporting a

conclusion that the Commission’s limited Class A licensing scheme has a substantial

affect upon interstate commerce.4 Third, the Commission admits that its Class A

licensing scheme is intentionally limited to several scattered, sparsely populated

DMAs. The scheme does not distribute Class A licenses nationwide “among the

several States” as required by the Constitution and Section 307(b).

      It is not RCC’s burden to show that the Commission’s limited, non-nationwide

Class A licensing program does not substantially affect interstate commerce. The

burden is on the Commission to show that Congress made a specific finding that the

Commission’s non-nationwide Class A licensing program, covering less than 2% of

the Nation’s population, aggregated on a nationwide basis, “substantially affects

interstate commerce.”

      Neither FCC 23-112 nor the FCC Brief point to any Congressional finding in

support of FCC 23-112’s promotion of NAB’s Clients because the LPPA does not

contain that Congressional finding. RCC Brief at 25-26 & n.11; RCC Reply at 6-7,



4
  The requirement of a Congressional finding is the lowest of bars, requiring just an
insertion of a Congressional statement. The absence of a finding is conclusive.

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App. 00080-81. The LPPA’s lack of the required Congressional aggregation finding

in support of the Commission’s choice to license Class A stations on a non-

nationwide basis conclusively demonstrates that FCC 23-112 is an unconstitutional

regulation of local economic activity, something Congress could not have intended.

      The Commission’s reading of the LPPA raises a substantial constitutional issue

because the Commission’s Class A licensing program does not operate on a

nationwide basis, it operates in only a few scattered, sparsely populated areas.5

RCC’s reading of the LPPA, on the other hand, where Class A licenses are distributed

nationwide based upon licensees’ Section 307(b) community of license,

unquestionably passes constitutional muster, RCC Brief at 35, and the FCC Brief

does not argue otherwise.

      FCC Brief at 10, 33 offers a weak alternative argument concerning spectrum

interference which miscasts RCC’s argument by asserting that

      the crux of RCC’s argument is that Congress’s decision to disallow low power
      stations from interfering with full power stations in populous television
      markets (like New Haven) hinders RCC’s ability to compete with full power
      broadcasters. E.g., Br. 27, 35. Signal interference and competition in broadcast
      markets are precisely the kinds of issues affecting interstate commerce that led
      to federal regulation of broadcasting, and Congress has ample constitutional
      authority to regulate in this area, including setting eligibility requirements for
      broadcast licensees.




5
   FCC Brief at 17 acknowledges that RCC’s constitutional arguments are not
frivolous.

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      First, nowhere did RCC argue that the Federal government lacked the authority

to regulate broadcasting vis-a-vis “signal interference and competition” and the FCC

Brief paints an absurd portrait of RCC’s argument. Plainly the Commission has

constitutional authority to regulate broadcasting on a nationwide basis, but it lacks

constitutional authority to license Class A non-nationwide only in the smallest of “33

out of 210” DMAs.6 RCC Brief at 4, 10, 13-14, 19-22, 29-32, 37, 44 (FCC 23-112

chooses a Class A licensing scheme which is not “required” by the LPPA).

      Second, the FCC Brief and FCC 23-112 fail to respond to RCC’s argument that

LPTV licensees, which are in a position to apply for Class A licenses under the

LPPA, have already demonstrated non-interference to existing licensees and they

already occupy spectrum alongside incumbent TV licensees. RCC Brief at 40.

Indeed, FCC 23-112 at 16 ¶ 30, App. 00019, acknowledges that the Commission

cannot even “imagine” a situation where it could grant a Class A license to an

interfering LPTV licensee.      Equally unimaginable is a situation where the

Commission’s highly respected RF engineers would authorize an interfering LPTV

given the fact that LPTV licenses are granted on a non-interfering basis. FCC Brief




6
  The FCC Brief miscasts RCC’s arguments frequently and Section C below covers
several instances. Reliance upon strawman arguments demonstrates the weakness of
the Commission’s legal position.

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at 5. The Commission’s RF engineering staff already addressed interference at the

time incumbent LPTV licenses were issued. RCC Brief at 29 n.13, 40.7

      FCC Brief at 32 argues that there is no doubt that television broadcasting is a

part of interstate commerce. RCC obviously agrees that the Commission can regulate

broadcasting, provided that its rules operate nationwide, including RF interference

issues, or substantially affects interstate commerce based upon a Congressional

finding of aggregated local economic activity. However, FCC 23-112 adopts a Class

A licensing scheme which the FCC Brief admits, as it must, is neither nationwide nor

based upon a Congressional finding of aggregated local economic activity.

          3. Unlawful Full-Power TV Protection At LPTV’s Expense

      FCC 23-112 ignores Section 307(b) and adopts a non-nationwide Class A

license allocation plan for the explicit and unlawful purpose of promoting NAB’s

Clients over the LPTV licensees protected by the LPPA. The FCC Brief fails to

explain “how the adopted Class A licensing rules protect[] LPTV or promote[]

nationwide Class A licensing.” RCC Brief at 19-23, 33-36, 38 n.16. FCC 23-112

construes the LPPA as providing the Commission with unfettered discretion to favor

and protect full-power TV licenses, and to impose costs upon LPTV licenses, rather

7
  47 C.F.R. § 73.620(c) allows some level of interference between incumbent primary
television broadcast stations. LPPA Section 2(c)(2)(B)(ii), Addend. at 0009,
precludes an LPTV station seeking primary Class A status from modifying its license
to increase the level of interference it directs toward other primary television
broadcast stations.

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than protecting LPTV licenses. FCC 23-112’s Class A license allocation scheme,

designed to protect NAB’s Clients, is arbitrary and capricious: it fails to address

Section 307(b)’s nationwide Class A licensing requirement while turning the LPPA’s

LPTV protection purpose on its head. RCC Brief at 23.

                        4. Decades Of Regulatory Failure

        In 1982 the Commission had a great idea, the creation of LPTV. It could have

been a watershed event, but the program was executed inadequately. Congress

attempted to correct course with 1999’s Community Broadcasters Protection Act

(CBPA). However, the Commission’s implementation of the CBPA was flawed and

RCC eventually lost three LPTV licenses including a Class A license. Petitioner

Brief at 44-5, 8 n.5, 15, 24, 27. The Commission’s decades long regulatory failure

has led to highly concentrated media ownership and dangerous information bubbles.

RCC Brief at 27, 40-41. See generally, S. Hrg. 107-1114, July 17, 2001.8

        The LPPA is the second statute Congress has enacted to protect LPTV by

creating a protected, primary Class A station classification, with license permanence,

and the same license rights as other Part 73 full power licensees. However, the

Commission determined in the subject rulemaking that the LPPA’s purpose and

function is the protection of NAB’s Clients rather than the LPTV licensees, the

LPPA’s nominally protected class. To reach that end, the Commission’s LPPA

8
    https://www.congress.gov/event/107th-congress/senate-event/LC16245/text

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implementation “completely ignores the fact that ‘the purpose of the Communications

Act and the LPPA is the promotion of broadcast outlets, not the elimination of

them.’” Petitioner Brief at 41. Congress has tried to deconcentrate television

broadcasting, first with 1999 CBPA, and now with 2023’s LPPA, but the Commission

and NAB’s Clients have jointly resisted.       FCC 23-112’s elevation of media

concentration in service to NAB’s Clients, directly contradicting clear Congressional

direction to protect LPTV, is arbitrary and capricious.

      FCC Brief at 31 argues that the First Amendment issue need not be reached

because RCC’s station is “ineligible for Class A status.” Whether RCC is LPPA

eligible is undecided, but it is clear that injured party RCC’s media concentration

comments are proper: the Commission accepted ineligible NAB Clients’ comments.

FCC 23-112 at 5 n.28, App. 00008 (disinterested NAB Clients’ anti-competitive, anti-

First Amendment, anti-LPTV comments accepted); RCC Brief at 37, 41. The

unfairness of the Commission’s approach to accepting comments is palpable.

       5. Section 230: Originating Local Programs Using The Internet

      FCC Brief at 40 argues that RCC’s program importation argument fails on

exhaustion grounds because “neither RCC nor any other party raised it before the

Commission.” RCC Brief at 45-48 addresses the exhaustion argument, including a

detailing of Record references showing where RCC raised the related regulatory and

constitutional issues in the subject rulemaking proceeding. See RCC Brief at 46-47


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citing “RCC Comments at 2 n.3, App. 00048; RCC Reply at 10-12 & n.16, App.

00084-86 (RCC’s receipt of programming via the Internet implicates First

Amendment program content issues and is authorized by 47 U.S.C. § 230).” Here

FCC 23-112 improperly supports NAB’s Clients’ peculiar effort to limit the First

Amendment rights of other broadcasters.9

      RCC Brief places principal reliance upon 47 U.S.C. § 230 and 47 C.F.R.

§ 74.701(h) and RCC plainly raised these citations and the related First Amendment

issue in the underlying rulemaking. The FCC Brief does not explain why FCC 23-

112 ignored information RCC plainly provided in the rulemaking proceeding below.

Going one step further, the FCC Brief affirmatively argues that RCC did not provide

rulemaking information even though RCC’s Brief plainly points to the Record.

      FCC Brief at 40 argues that “the location from which programming must have

originated is not an impermissible, content based restriction on speech,” but fails to

address RCC’s argument that Section 230 (authorizing Internet-based information

transmission) and 47 C.F.R. § 74.701(h) (signal importation constitutes local program

origination provided the licensee controls the signal “as it reaches the transmitter

site”) authorize Class A applicants to use the Internet to originate local programming.



9
   “The anti-First Amendment approach that the NAB takes in this proceeding
is an odd choice for an organization which claims to ‘advocate on behalf of free local
radio and television stations and broadcast networks.’” RCC Reply at 12 n.17, App.
00086.

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      Section 230 is Congressional rejection of the Commission’s attempt to wrap

RCC’s First Amendment editorial discretion right into a very small box.10 RCC is

originating local programming as defined at 47 C.F.R. § 74.701(h) and RCC was

originating that local programming long before the LPPA was enacted. In other

words: RCC is standing inside the First Amendment rights box the Commission

constructed in an effort to deny Class A licenses in service to NAB’s Clients. RCC

Brief at 15, 45-48, 53.

      The Commission’s focus on “where” local programming is produced, rather

than “whether” local programming is produced, constitutes the First Amendment

violation. The statutory and regulatory rules already in place show that production

location does not make local programming less local. The Commission repeatedly

ignores those legal provisions and, by doing so, unnecessarily intrudes upon core

First Amendment broadcast editorial discretion. Syracuse Peace Council. FCC 23-

112’s boxing of RCC’s editorial discretion violates the First Amendment and is

otherwise arbitrary and capricious.



10
   FCC Brief at 9-10 incorrectly refers to RCC’s Section 307(b) community of license
as a mere “neighborhood” to minimize the importance of RCC’s license and this case,
but it is part of the Section 307(b) nationwide license distribution system. TV licenses
are searchable by Section 307(b) “community of license,” but not by DMA:
https://enterpriseefiling.fcc.gov/dataentry/public/tv/publicFacilitySearch.html In
addition to understating Allingtown’s significance as a Section 307(b) “community,”
the Commission fails to explain how severely limiting the local program production
area protects LPTV licenses under the LPPA.

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              B. Issues FCC 23-112 Or The FCC Brief Mention
          1. Unconstitutional Delegation Of Governmental Authority

      Schechter Poultry Corp. v. United States, 295 U.S. 495, 541 (1935) states that

the pertinent statute in that case

      supplies no standards for any trade, industry or activity. It does not undertake
      to prescribe rules of conduct to be applied to particular states of fact
      determined by appropriate administrative procedure. Instead of prescribing
      rules of conduct, it authorizes the making of codes to prescribe them.

      FCC 23-112 at 23 n.186, App. 00026, tersely asserts that delegation of

governmental authority to private-party Nielsen is not of any concern. RCC Brief at

53. However, the private-party delegation problem in this case is on all fours with

the delegation issue in Schechter. In Schechter the private party was a trade

association of companies in the live chicken industry who wrote a code to regulate

interstate commerce controlling the movement and storage of chickens in New York.

See Mistretta v. United States, 488 U.S. 361, 373 n.7 (1989) (noting concern for

delegation of “regulatory power to private individuals”), citing Yakus v. United

States, 321 U.S. 414, 424 (1944) (concerned that the regulatory power in Schechter

was not delegated to a public official, “but to private individuals engaged in the

industry to be regulated”).

      Instantly, the LPPA was enacted to protect low-power broadcasters on a

nationwide basis. However, rather than adopting rules to further that purpose, FCC

23-112 chose for-profit Nielsen’s large-market DMAs as a Class A licensing


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mechanism for the non-statutory purpose of limiting the LPPA’s protection

nationwide to protect NAB’s Clients. See, e.g., RCC Brief at 13-15.

      Neither the LPPA nor FCC 23-112 establish any standard, such as population,

geographic size, population density, political boundaries, transportation networks,

GDP, nor any other measure, which regulates Nielsen’s DMA creation. Additionally,

there was no rulemaking underlying the creation and ongoing maintenance of

Nielsen’s DMAs. Accordingly, DMAs, standing alone, are not proper Class A

licensing communities under the FCA -- Section 307(b) cannot be ignored. RCC

Brief at 42-43.11 Commission broadcast licensing rules cannot be based solely upon

“the public interest,” they must be “moor[ed] to a distinct grant of authority in [Title

III]”. Cellco P’ship v. FCC, 700 F.3d 534, 542 (CADC 2012). Because the LPPA

is silent regarding standards which regulate, or even address, Nielsen’s DMA

creation, Congress could not have intended that the Commission use Nielsen DMA’s

for primary Class A licensing purposes in the manner adopted in FCC 23-112. Owens

v. Republic of the Sudan, 531 F.3d 884, 890 (CADC 2008) (the Constitution requires

that legislative power delegated to an agency be cabined by the statute).12



11
   FCC Brief at 23 miscasts RCC’s argument as the LPPA “standing alone” when
RCC’s argument plainly is that Section 307(b) and the LPPA, read together, mandate
nationwide Class A licensing.
12
   Nothing regulated Nielsen’s DMA creation except its own profit motive. RCC
Brief at 42-43.

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      Private entity, for-profit Nielsen creates DMAs in a process which is not only

hidden from public view; there is no way for the general public, or this Court, to

know how Nielsen created and maintains DMAs or even ascertain what the

boundaries of Class A licensing markets are without first subscribing to Nielsen’s

service in exchange for payment to Nielsen of a hoped for, but unregulated,

“‘reasonable charge.’”13 RCC Brief at 42 n.18; In re FCC Proposes Rules to

Implement the Low Power Protection Act, Notice of Proposed Rulemaking, FCC 23-

23, 38 FCC Rcd. 2874, 2888 n.110 (2023) (“reiterating Nielsen’s clarification that it

has ‘always told stations the DMAs to which they have been assigned upon request

and free of charge,’ and that it will begin offering DMA maps to non-clients at ‘a

reasonable charge’”). Neither the LPPA nor FCC 23-112 adopt any “rules of conduct

to be applied to particular states of fact determined by appropriate administrative

procedure” regarding Nielsen’s creation of the Class A licensing areas. Schechter,

295 U.S. at 541.

      Requiring subscription to a private company to ascertain the law is a novel way

for citizens to access Federal regulations, but it is not required by the LPPA. FCC 23-

112’s imposition of that requirement raises serious concerns such as notice and equal



13
  To the extent that the instant case differs from Schechter, the instant case presents
a more compelling case. In Schechter the public could at least see what the improper
regulations were. Instantly, Nielsen’s operation is the proverbial black box whose
contents are viewable only upon subscription.

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protection under the law, and payment for regulation has obvious corruption

implications. Given the Commission’s failure to maintain a public record regarding

Nielsen’s DMAs, we do not know, and cannot verify, whether parties paid money to

Nielsen to have the DMAs drawn after Congress began working on the LPPA

legislation, nor whether Nielsen has altered DMAs since the LPPA was adopted, or

might alter the DMAs in the future based upon its own decision making or because

a broadcaster pays for the change.14

      The concern which might otherwise arise where the Supreme Court has only

twice previously found Congressional legislative delegations improper is alleviated

because the instant case aligns with Schechter and the implications of the instant case

are not limited to FCC Class A licensing procedures. This Court’s endorsement of

the Commission’s designation of Nielsen’s DMA markets as a Class A licensing

condition would authorize, for example, the Environmental Protection Agency to

adopt regulations, without rulemaking, written by participants in the for-profit fossil

fuel industry; labor, trade, safety, and indemnity regulations written by trade

associations; extraction regulations written by mine owners; transportation rules




14
   We do know that beneficiaries of Nielsen’s DMAs, NAB’s Clients, make payments
to Nielsen to obtain DMA reports and FCC 23-112 encourages the public to subscribe
to Nielsen’s DMA service to obtain Class A licensing information. RCC Brief at 42
n.18, 43.

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written by trucking companies; and etc. across the entire regulatory sphere overseen

by the Federal Government. This is exactly what Schechter prohibits.

      The text of the LPPA does not explicitly require or authorize a change to the

nationwide Section 307(b) community of license broadcast licensing procedure which

has existed for nearly 100 years. Other than reliance upon the silence of the LPPA

to empower private creation and regulation of Class A licensing areas, FCC 23-112

does not point to any FCA provision which authorizes Nielsen DMAs as establishing

proper Class A licensing “communities.”15

      At a minimum, the Commission’s LPPA interpretation creates a delegation

situation which “might otherwise be thought to be unconstitutional.” Accordingly,

the Commission’s authority to use DMAs, in lieu of Section 307(b)’s century-old

licensing procedures, must be narrowly construed. Mistretta, 488 U.S. at 373 & n.7.

The Court should find FCC 23-112’s choice to use unregulated, private party-created

DMAs to deny Class A licenses nationwide for the benefit of NAB’s Clients to be

improper under the FCA, and the LPPA, and arbitrary and capricious.




15
   Should the Court conclude that the LPPA locked the Commission into the choices
it made, then the LPPA would be unconstitutional under Lopez, Wickard, and
Schechter. However, there is another way to read the LPPA, but the Commission
simply chose to ignore RCC’s reading. RCC Brief at 35-36.

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          2. Unlawful Denial Of Primary Class A Must-Carry Right

      The Commission’s existing must-carry rule does not preclude Class A licensees

from asserting must-carry and Class A licensees have the same license terms as other

full power TV stations.16 RCC Brief at 19, 48-53. FCC Brief at 41-43 does not

discuss the fact that the text of the must-carry rule at 47 C.F.R. § 76.55 does not

preclude Class A licensees from asserting must-carry rights, but does argue that the

must-carry rule is not a “license term.” With all due respect, all TV licenses are

conditioned with the phrase that the license is “subject to . . . all regulations

heretofore or hereafter made by this Commission.” See Addend. at 0002 (WNYW,

an example New York full-power TV license incorporates “all” Commission

regulations); Addend. at 0004 (RCC’s current LPTV license incorporates “all”

Commission regulations); and Addend. at 0006 (RCC’s 2001 Class A license

incorporates “all” Commission regulations).17



16
    Class A TV stations are regulated in Part 73 along with other full-power TV
stations. FCC Brief at 38 citing 47 C.F.R. § 73.6000 in Subpart J--Class A Television
Broadcast Stations. “In other words, a Class A TV station is not a ‘low power
television station’ (LPTV) which ‘operate[] pursuant to Part 74.’ A Class A
television station is a different class of station compared to a LPTV station.” RCC
Comments at 16 n.21, App. 00062.
17
   RCC’s Class A license, Addend. at 0006, did not classify the station as a “Class
A LPTV,” or a “Low Power Class A,” or similar, it was a “Class A Television Station
Broadcast License” licensed under Part 73 of the Commission’s rules along with
other full-power TV stations. RCC Brief at 10 (“Congress created ‘Class A’ licenses,
Congress did not create ‘Class A LPTV’ licenses”).

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      If the FCC Brief were correct that the Commission’s regulations are not

incorporated into broadcast licenses, then the Commission would be unable to enforce

a myriad of regulations against TV broadcasters, including those found at 47 C.F.R.

§ 73.1001 (Rules Applicable to All Broadcast Stations), including ownership

changes, station identification, the limitation on the broadcast of lottery information,

minimum operating schedules, public and political file requirements, periodic report

filings, drug lyric limitation, station monitoring requirements, because none of those

regulations is printed on a broadcast license.

      The Commission’s position that its regulations are not terms incorporated into

a broadcast license’s terms ignores the literal text of those licenses and is otherwise

irrational given the Commission’s regulatory function and the myriad of regulations

requiring broadcast licensee compliance. See, e.g., National Broadcasting Co. v.

United States, 319 U.S. 190 (1943) (licensee objection to “chain broadcasting” rules

rejected because the Commission properly regulates nontechnical aspects of broadcast

licensing); MD/DC/DE Broadcasters Ass’n v. FCC, 236 F.3d 13, 18 (CADC 2001)

(broadcast licensees must comply with nontechnical broadcast regulations); cf. MCI

v. FCC, 561 F.2d 365, 377-78 (CADC 1977) (service authorized by regulation may

be offered under a certificate unless restricted based upon proper findings).

      Instantly, RCC must comply with “all” Commission regulations, including the

must-carry rule, according to the express terms of RCC’s TV broadcast license.


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There is no exception in the Commission’s rules which precludes a Class A licensee

from complying with the must-carry rule merely because such rule compliance is

financially advantageous to the primary Class A licensee.

                   C. The FCC Brief Miscasts RCC’s Brief
         1. Statutory Interpretation Cannot Rely Upon Altering Text

      FCC Brief at 21-23 argues that RCC’s interpretation of the statutory phrase

“‘the low power TV station submitting the application . . . with not more than 95,000

television households’” -- makes little sense.” RCC agrees that using an ellipsis to

delete the verb “operates” from the LPPA creates nonsense.18 The LPPA must be

construed with the statutory text the FCC Brief omits, as highlighted here, included:

      (A) if the low power TV station submitting the application *** as of the date
      of enactment of this Act, operates in a Designated Market Area with not more
      than 95,000 television households.

      Two adverbial prepositional phrases describe where and how the subject LPTV

station operates.19 “If the low power station submitting the application . . . operates

[where?] in a Designated Market Area” makes perfect sense and is not “superfluous”




18
  The FCC Brief properly uses the statutory term “operate” six times previously, but
omits it to miscast RCC’s interpretation; that’s an unreasoned sleight of hand.
19
   FCC Brief at 21 treats “submitting” as if it were the verb of the sentence, but it is
an adjectival present participle identifying the LPTV station which is the subject of
the eligibility section.

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-- not every LPTV station “operates in a Designated Market Area.”20 For instance,

LPTV WWXY-LD, San Juan, PR, and K17ME-D, Bethel, AK, are not in DMAs.21

       “If the low power station submitting the application . . . operates [how?] . . .

with not more than 95,000 television households” also makes perfect sense -- RCC’s

LPTV station is licensed to serve Allingtown, a community of 15,000 people. See

Addend. at 0004 (W24EZ-D’s Station License); RCC Comments at 7, App. 00053

(providing Allingtown’s population).

      FCC Brief’s textual deletion raises several troublesome issues. First, the very

first sentence of FCC Brief at 1 states that “this case presents a simple question of

statutory interpretation.” However, FCC 23-112 reads the LPPA in a certain way, but

ignores RCC’s interpretation, and FCC Brief at 17 seeks Chevron deference for a

statutory interpretation given limited consideration and requiring textual alteration.



20
  FCC Brief at 23, but not FCC 23-112, inexplicably limits the LPPA to “the lower
48 states.” DMAs exist in Alaska (Juneau, Fairbanks & Anchorage) and Hawaii
(Honolulu) and the Juneau and Fairbanks DMAs are within FCC 23-112’s limited
universe of “33 out of 210” DMAs. https://mymediajobs.com/market-rankings
21
   Search TV stations here:
https://enterpriseefiling.fcc.gov/dataentry/public/tv/publicFacilityDetails.html?
facilityId=64856

Nielsen provides audience services in Puerto Rico through “Nielsen IBOPE.”
https://www.nielsen.com/about-us/locations/puerto-rico/ There are no Nielsen DMAs
for any US controlled territory. Congressional intent appears to be protection of
several remote, incumbent full-power TV stations, the exact of opposite of FCC 23-
112’s chosen course of protecting virtually all urban full-power TV stations.

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      Second, FCC Brief at 22 cites Lockhart v. United States, 577 U.S. 347, 351

(2016) for the proposition that limiting clauses “should ordinarily be read as

modifying only the noun or phrase that it immediately follows.” However, the FCC

Brief omits the context of Lockhart: “‘qualifying words or phrases modify the words

or phrases immediately preceding them and not words or phrases more remote, unless

the extension is necessary from the context or the spirit of the entire writing.’”

Lockhart, 577 U.S. at 351 (emphasis added). The FCC Brief completely ignores RCC

Brief at 30 & n.14, 33-34, explaining that “Designated Market Area” is an LPPA

defined term which does not include “95,000 television households” as part of the

definition. The FCC Brief adds text to the Congressionally defined term “Designated

Market Area,” but had Congress intended that reading, it would have written the

statutory definition to reflect that. “It is very rare that a defined meaning can be

replaced with another permissible meaning of the word on the basis of other textual

indications; the definition is virtually conclusive.” Villarreal v. R.J. Reynolds

Tobacco Co., 839 F.3d 958, 967 (CA11 2016) (internal quote omitted).

      Third, Commission touts the fact that the “95,000 television households”

phrase is adjacent to a reference to “Designated Market Area,” while finding

problematic the fact that the actual subject of the pertinent statutory section, “the low

power TV station submitting the application,” is 140 words distant. However, the

FCC Brief fails to address RCC’s argument that FCC 23-112 mistreats the “95,000

                                           22
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television households” text as “a disconnected appendage of the ‘Designated Market

Area’ definition found at Section 2(a)(2).” RCC Brief at 34 (emphasis added);

Addend. 0008. The “Designated Market Area” definition is approximately 380 words

from the “95,000 television households” text. If statutory interpretation turns upon

word distance, then RCC’s LPPA reading wins the day by about 240 words.

      Fourth, FCC Brief at 27-28 argues that FCC 23-112 does not order de facto

reallocation from small Section 307(b) communities of license to larger Disqualifying

Regions. However, FCC 23-112’s LPPA implementation effectively changes the

community of license printed on RCC’s station license, a de facto license

reallocation, from a very small Section 307(b) community of license, to a much larger

DMA to disqualify RCC’s LPTV station from Class A licensing, rendering Section

307(b) superfluous. RCC Brief at 38-40. In addition to ignoring the requirements of

Section 307(b) under which LPTV stations were initially licensed on a nationwide

basis, and engaging in a de facto license reallocation which is not required by the

LPPA’s text, the Commission’s interpretation unnecessarily creates two constitutional

issues: a) non-nationwide regulation of unaggregated local economic activity and b)

improper delegation of legislative power to a private company.

                2. Congressional Authority To Enact The LPPA

      FCC Brief at 33-34 asserts that RCC Brief at 30 argues, again without

providing a direct quote, that “Congress lacks authority under the Commerce Clause

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to enact the Low Power Protection Act (or the Commission lacked authority to

implement it)” and that RCC seeks “a ‘nationwide’ guarantee of Class A privileges

for low power stations.” RCC never remotely argued any such thing.22

      RCC Brief at 30 argues that “LPPA Section 2(a)(2) requires nationwide Class

A licensing whether Nielsen DMAs or ‘local markets’ are used.” RCC did not argue

that Congress “lacks authority to enact” the LPPA and RCC is not seeking any

“guarantee of Class A privileges.” RCC’s argument is that the Commission must

comply with the constitutional and statutory requirements that Class A licenses issue

nationwide, rather than issue through a licensing scheme adopted to service NAB’s

Clients which excludes more than 98% of the population from the LPPA’s benefits.

      FCC Brief at 14 argues that “the Commission was not free to replace

Congress’s chosen designation of “Designated Market Area” with the concept of

communities of license under Section 307(b),” but fails to point to anything in the

LPPA requiring that Section 307(b) be ignored.            A basic rule of statutory

interpretation is that all words in a statute are to be given effect, yet the Commission

renders Section 307(b) and Section 230 superfluous for Class A licensing. While




22
  FCC Brief at 14 argues that “Section 307(b) . . . does not specifically address low
power stations, let alone guarantee Class A status to every low power station
nationwide.” The Commission’s point is unclear: Section 307(b) applies to all
“applications for licenses” and “radio service” nationwide without identifying any
specific radio service.

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FCC Brief at 14, 29 views Section 307(b) and the LPPA as “conflicting,” it does not

address RCC’s harmonization of Section 307(b) and the LPPA. RCC Brief at 35.

      FCC Brief fails to address RCC’s argument that LPPA Sections 2(a)(2)(A),(B),

Addend. 0008, authorize the Commission to use Nielsen’s nationwide system of 210

DMAs or to designate a system of nationwide “local markets” and refer to that system

as Designated Market Areas. FCC 23-112 made a policy choice to use Class A

license disqualifying “larger geographic regions” rather than already existing, easily

administrated nationwide Section 307(b) system of “local markets,” ignoring the

LPPA’s nationwide LPTV protection purpose to benefit NAB’s Clients. RCC Brief

at 4 & n.4, 14, 29-30, 32 & n.15, 34-36, 39 n.17, 44 & n.19, 45.

                3. Federal Authority To Regulate Broadcasting

      FCC Brief at 33 miscasts RCC Brief at 27, 35, asserting that RCC argued that

Congress does not have “ample constitutional authority to regulate” signal

interference, competition, and broadcast licensing. The Commission concocted its

preposterous argument without quoting directly from RCC’s Brief. Nowhere did

RCC argue that the Federal government lacked the authority to regulate broadcasting.

      RCC Brief at 27 argues that the Commission’s LPPA reading is “absurd,”

“irrational,” and “nonsensical” because that non-nationwide reading is prompted by

the Commission’s improper purpose of protecting NAB’s Clients. RCC Comments

below provided a lawful LPPA reading that satisfies all regulatory, statutory, and


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constitutional concerns; “the Commission’s LPPA reading does not serve any of these

purposes.” RCC Brief at 35-36. RCC’s LPPA interpretation is the only lawful one

in the Record and the Commission should have adopted RCC’s all encompassing

harmonization rather than erecting strawmen on review.

                     D. The Commission Opposes Remand

      FCC Brief at 30-31 explains that FCC 23-112 “adequately explained” why it

rejected RCC’s arguments and that any unaddressed issues are “insubstantial on their

face and did not warrant discussion.” Moreover, except for the program importation

issue resolved in RCC’s favor in Section A.5 above, the Commission agrees that all

issues are properly before the Court.

      The FCC Brief and the February 26, 2024 FCC Opposition (No. 24-1004)

[2042388] at 26-27 (arguing that the relevant issues were considered and that RCC’s

case is insubstantial) express disinterest in an opportunity for further independent

consideration of any fact or question of law. Accordingly, remand is required only

to instruct the Commission to: issue nationwide Class A licensing rules; accord Class

A licenses the same rights as NAB’s Clients, including must-carry; recognize that

Section 230 authorizes Internet-transported locally produced programming; and to

remind the Commission that the LPPA’s purpose is the protection of LPTV licenses

through the nationwide creation of Class A licenses.




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                                   Respectfully submitted,


June 25, 2024                      /S/_____________________________
                                   Timothy E. Welch, Esq.
                                   Attorney for Petitioner
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                                   Silver Spring, MD 20904
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                             Certificate of Compliance


      I certify that Petitioner’s Final Reply Brief is proportionally spaced using 14
point Times New Roman typeface and, in compliance with the 6,500-word limit
found at Rule 32(a)(7)(B)(ii) and contains 6,484 words, excluding those items listed
at F.R.A.P. 32(f), Circuit Rule 32(e)(1), and Handbook of Practice and Internal
Procedures at 40-41 (March 16, 2021) as counted by WordPerfect 2021 Ver.
21.0.0.194. I certify that the information on this form is true and correct to the best
of my knowledge and belief.


/S/__________________________________
   Timothy E. Welch
   Counsel to Radio Communications Corporation


June 25, 2024




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           Certificate of Digital Submission and Privacy Redactions


       Petitioner’s Final Reply Brief has been scanned for viruses with the most
recent version of a commercial virus scanning program (Microsoft Defender
Antivirus Version 1.413.470.0, last updated June 23, 2024) and is free of viruses. In
addition, I certify that all required privacy redactions have been made.


/S/_______________________________
   Timothy E. Welch
   Counsel to Radio Communications Corporation


June 25, 2024




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                               Certificate Of Service

       I hereby certify that pursuant to F.R.A.P. 25(d) and Circuit Rule 25(f) and 27(a)
the Clerk of the Court will serve a copy of the foregoing Petitioner’s Final Reply
Brief by email using the CM/ECF System upon the following:

*Adam Sorensen
Sarah E. Citrin
General Counsel’s Office
Federal Communications Commission
445 12th Street, S.W.
Washington, D.C. 20554

*Robert B. Nicholson
Alice A. Wang
Antitrust Division
U.S. Department of Justice
950 Pennsylvania Avenue, N.W., Room 3224
Washington, D.C. 20530


*Courtesy service by undersigned counsel’s email.


/S/____________________________
   Timothy E. Welch
   June 25, 2024




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                          Addendum: Miscellaneous Documents



1) Informal Errata Sheet -- Petitioner Brief Page 52 . . . . . . . . . . . . . . . . . . . . 0001
2) Example WNYW TV License Incorporates “All” FCC Regulations . . . . . 0002
3) RCC’s Current LPTV License Incorporates “All” FCC Regulations . . . . . 0004
4) RCC’s Canceled Class A License Incorporates “All” FCC Regulations . . 0006
5) Low Power Protection Act (2023) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0008




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          ! preexisting § 76.55(c) provided “licensed commercial television stations” with
          must-carry rights based upon their Section 307(b) community of license;

          ! Congress itself created a new type of Class A broadcast license and provided them
          with the “same” license rights as “licensed commercial television stations” to protect
          them on a going forward basis;

          ! Congress itself endowed Class A licenses with the “the same license terms” as
          licenses “for a full power television broadcast station, except as otherwise expressly
          provided in this subsection”; and

          ! Congress did not limit the ability of new Class A licensees to assert must-carry
          rights when it knew that the text of preexisting § 76.55(c)(1) did not limit must-carry
          for the newly created Class A license.

                Despite these unassailable facts, FCC 23-112 concludes that Class A licenses

          do not have the same must-carry rights as full-power stations based upon the

          Commission’s view that “the LPPA is also silent with respect to the issue of must

          carry rights.” FCC 23-112 at 27-28 ¶ 53, App. x____-x____. The LPPA isn’t

          “silent” on the must-carry issue, the LPPA grants the “same” rights to Class A

          licenses as are granted to “full power television broadcast station[s], except as otherwise

expressly provided in this subsection.” The Commission’s avoidance of the LPPA’s plain text

          is not reasonably viewed as “Congressional silence” regarding must-carry.

                The continuing, unamended existence of decades old Section 76.55(c)(1)

          directly contradicts FCC 23-112’s assertion that primary Class A stations cannot

          assert must-carry rights. FCC 23-112 completely ignored RCC’s argument. RCC

          Comments at ii, 2 & n.4, 8 n.12, 14-16, 17 n.22, App. x____, x____, x____, x____-



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                                                 0001
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                              Federal Communications Commission
                                TELEVISION BROADCAST STATION
                                      AUXILIARY LICENSE

      Licensee/Permittee
      FOX TELEVISION STATIONS, LLC
      101 Constitution Avenue, NW
      Suite 200 West
      WASHINGTON, DC, 20001
                                                                                                Call Sign File Number
                                                                                                WNYW     0000154640


      Facility ID: 22206
      NTSC TSID: 2160
      Digital TSID: 2161
      This License Covers Construction     0000081110
      Permit No.


       Grant Date                                                  Expiration Date
       08/02/2021                                                  06/01/2023

       Hours of Operation
       Unlimited

       Station Location                          Frequency (MHz)                       Station Channel
                                                 548.0 - 554.0                         27
       City NEW YORK
       State NY

       Facility Type
       Commercial


       Antenna Structure Registration Number
       1060205

       Transmitter                                                       Transmitter Output Power(kW)
       Type Accepted. See Sections 73.1660, 73.1665 and 73.1670 of the   As required to achieve authorized ERP.
       Commission's Rules.

       Antenna Coordinates                                               Antenna Type
                                                                         Directional
       Latitude 40-48-7.6 N
       Longitude 74-14-45.5 W

       Description of Antenna

       Make DIELECTRIC
       Model TUD-C5SP-10/34U-2-B



                                                        0002
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             USCA Case #24-1004            Document #2061394                   Filed: 06/25/2024          Page 42 of 49
       Antenna Beam Tilt (Degrees Electrical)                                  Antenna Beam Tilt (Degrees Mechanical @
       0.5                                                                     Degrees Azimuth)
                                                                               Not Applicable

       Major Lobe Directions                                                   Maximum Effective Radiated Power (Average)
       75.0 145.0                                                              503 kW
                                                                               27.02 DBK

       Height of Radiated Center Above Ground (Meters)                         Height of Radiated Center Above Mean Sea
       98.5                                                                    Level (Meters)
                                                                               288.1

       Height of Radiated Center Above Average Terrain (Meters)                Overall Height of Antenna Structure Above
       224                                                                     Ground (Meters)
                                                                               See the registration for this antenna structure.


       Waivers/Special Conditions
               For emergency, maintenance & test purposes only.




       Subject to the provisions of the Communications Act of 1934, as amended, subsequent acts and treaties, and all
       regulations heretofore or hereafter made by this Commission, and further subject to the conditions set forth in this
       permit, the permittee is hereby authorized to construct the radio transmitting apparatus herein described. Installation
       and adjustment of equipment not specifically set forth herein shall be in accordance with representations contained in
       the permittee's application for construction permit except for such modifications as are presently permitted, without
       application, by the Commission's Rules.

       Equipment and program tests shall be conducted only pursuant to Sections 73.1610 and 73.1620 of the
       Commission's Rules.




                                                            0003
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                            Federal Communications Commission
                  LOW POWER TELEVISION BROADCAST STATION
                                 LICENSE

      Licensee/Permittee
      RADIO COMMUNICATIONS CORPORATION
      24 ROCKDALE ROAD
      WEST HAVEN, CT, 06516
                                                                                                       Call Sign File Number
                                                                                                       W24EZ-D 0000177861


      Facility ID: 51284
      NTSC TSID:
      Digital TSID:
      This License Covers Construction          0000152150
      Permit No.


       Grant Date                                                           Expiration Date
       02/03/2022                                                           04/03/2023

       Hours of Operation
       Unlimited

       Station Location                                Frequency (MHz)                         Station Channel
                                                       530.0 - 536.0                           24
       City ALLINGTOWN
       State CT


       Antenna Structure Registration Number
       1200863

       Transmitter                                                     Transmitter Output Power(kW)
       Type Accepted. See Sections 74.750 of the Commission's          As required to achieve authorized ERP.
       Rules.

       Antenna Coordinates                                             Antenna Type
                                                                       Directional
       Latitude 41-17-28.3 N
       Longitude 72-58-4.3 W

       Description of Antenna                                          Major Lobe Directions
                                                                       0.0 10.0 350.0
       Make PSI
       Model PSILP-OI

       Antenna Beam Tilt (Degrees Electrical)                          Antenna Beam Tilt (Degrees Mechanical @ Degrees
       Not Applicable                                                  Azimuth)
                                                                       Not Applicable


                                                           0004
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       Maximum Effective Radiated Power (Average)
       6 kW
       7.78 DBK

       Height of Radiated Center Above Ground (Meters)                  Height of Radiated Center Above Mean Sea Level
       52.3                                                             (Meters)
                                                                        98.0

       Out-Of-Channel Emission Mask                                     Overall Height of Antenna Structure Above Ground
       Full Service                                                     (Meters)
                                                                        See the registration for this antenna structure.


       Waivers/Special Conditions
              Grant of this license application is conditioned on continuous operations of the licensed facility for the twelve-
              month period following grant. The failure to so operate will result in the rescission of this grant, dismissal of the
              license application and the forfeiture of the associated construction permit pursuant to 47 C.F.R. § 73.3598(e)
              unless the licensee rebuts the presumption that the authorized facilities were temporarily constructed.




       Subject to the provisions of the Communications Act of 1934, as amended, subsequent acts and treaties, and all
       regulations heretofore or hereafter made by this Commission, and further subject to the conditions set forth in this
       permit, the permittee is hereby authorized to construct the radio transmitting apparatus herein described. Installation
       and adjustment of equipment not specifically set forth herein shall be in accordance with representations contained in
       the permittee's application for construction permit except for such modifications as are presently permitted, without
       application, by the Commission's Rules.

       Equipment and program tests shall be conducted only pursuant to Sections 73.1610 and 73.1620 of the
       Commission's Rules.




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                                           United States of America
                         FEDERAL COMMUNICATIONS COMMISSIONS
                                         CLASS A TELEVISION
                                    BROADCAST STATION LICENSE
                                                    Authorizing Official:

  Official Mailing Address:

  RADIO COMMUNICATIONS CORPORATION                  Hossein Hashemzadeh
  24 ROCKDALE ROAD                                  Associate Chief
  WEST HAVEN CT 06516                               Video Division
                                                    Media Bureau

  Facility Id: 51284                                Grant Date: November 28, 2001
  Analog TSID: 10490                                This license expires 3:00 a.m.
  Digital TSID: 10491                               local time, April 01, 2007.
  Call Sign: W24EZ-D
  License File Number: BLTTL-20010709ABL
  This license converts the facilities of BLTTL-20010608AAO to Class A
  status.



   Subject to the provisions of the Communications Act of 1934, subsequent
   acts and treaties, and all regulations heretofore or hereafter made by
   this Commission, and further subject to the conditions set forth in this
   license, the licensee is hereby authorized to use and operate the radio
   transmitting apparatus herein described.


   This license is issued on the licensee's representation that the
   statements contained in licensee's application are true and that the
   undertakings therein contained so far as they are consistent herewith,
   will be carried out in good faith. The licensee shall, during the term of
   this license, render such broadcasting service as will serve the public
   interest, convenience, or necessity to the full extent of the privileges
   herein conferred.


   This license shall not vest in the licensee any right to operate the
   station nor any right in the use of the frequency designated in the
   license beyond the term hereof, nor in any other manner than authorized
   herein. Neither the license nor the right granted hereunder shall be
   assigned or otherwise transferred in violation of the Communications Act
   of 1934. This license is subject to the right of use or control by the
   Government of the United States conferred by Section 606 of the
   Communications Act of 1934.




FCC Form 365 October 21, 1985               0006                                    Page 1 of 2
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 Callsign: W24EZ-D                                 License No.: BLTTL-20010709ABL
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  Name of Licensee: RADIO COMMUNICATIONS CORPORATION

  Station Location: CT-ALLINGTOWN

  Frequency (MHz): 554 - 560                    Offset: ZERO

  Channel: 28

  Hours of Operation: Unlimited



  Transmitter: Type Accepted. See Sections 74.750 of the Commission's Rules.
  Antenna type: (directional or non-directional): Directional

        Description: SCA 4DR-4-2HW


         Major lobe directions          45
         (degrees true):

  Beam Tilt: Not Applicable

  Antenna Coordinates: North Latitude:        41 deg    17 min   29 sec

                        West Longitude:       72 deg    58 min   03 sec

   Maximum Effective Radiated Power (ERP) Towards Radio Horizon: 3.5 kW
   Maximum ERP in any Horizontal and Vertical Angle: 3.5 kW
   Height of radiation center above ground:                52.3 Meters

   Height of radiation center above mean sea level:        98 Meters

   Antenna structure registration number: 1200863
   Overall height of antenna structure above ground (including obstruction
   lighting if any) see the registration for this antenna structure.




  Special operating conditions or restrictions:

  1    This Authorization reflects the licensee/permittee's certification that
       the class A television stations will not cause interference to the
       reception of existing full-service stations on either NTSC or DTV
       channels, any DTV facilities resulting from maximization applications
       filed by May 1, 2000, and existing LPTV, television translator and
       class A television stations.


                         ***     END OF AUTHORIZATION      ***




FCC Form 365 October 21, 1985                0007                              Page 2 of 2
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                                                                                        PUBLIC LAW 117–344—JAN. 5, 2023                                    136 STAT. 6193




                                                                    Public Law 117–344
                                                                    117th Congress
                                                                                                                 An Act
                                                                    To require the Federal Communications Commission to issue a rule providing that
                                                                                                                                                                  Jan. 5, 2023
                                                                      certain low power television stations may be accorded primary status as Class
                                                                      A television licensees, and for other purposes.                                              [S. 3405]

                                                                        Be it enacted by the Senate and House of Representatives of
                                                                    the United States of America in Congress assembled,                                         Low Power
                                                                                                                                                                Protection Act.
                                                                    SECTION 1. SHORT TITLE.                                                                     47 USC 336 note.
                                                                           This Act may be cited as the ‘‘Low Power Protection Act’’.
                                                                    SEC. 2. LOW POWER TV STATIONS.
                                                                         (a) DEFINITIONS.—In this section—
                                                                              (1) the term ‘‘Commission’’ means the Federal Communica-
                                                                         tions Commission;
                                                                              (2) the term ‘‘Designated Market Area’’ means—
                                                                                   (A) a Designated Market Area determined by Nielsen
                                                                              Media Research or any successor entity; or
                                                                                   (B) a Designated Market Area under a system of
                                                                              dividing television broadcast station licensees into local
                                                                              markets using a system that the Commission determines
                                                                              is equivalent to the system established by Nielsen Media
                                                                              Research; and
                                                                              (3) the term ‘‘low power TV station’’ has the meaning
                                                                         given the term ‘‘digital low power TV station’’ in section 74.701
                                                                         of title 47, Code of Federal Regulations, or any successor regula-
                                                                         tion.
                                                                         (b) PURPOSE.—The purpose of this section is to provide low
                                                                    power TV stations with a limited window of opportunity to apply
                                                                    for the opportunity to be accorded primary status as Class A tele-
                                                                    vision licensees.
                                                                         (c) RULEMAKING.—
                                                                              (1) IN GENERAL.—Not later than 90 days after the date                             Deadline.
                                                                         of enactment of this Act, the Commission shall issue a notice                          Notice.
                                                                         of proposed rulemaking to issue a rule that contains the require-
                                                                         ments described in this subsection.
                                                                              (2) REQUIREMENTS.—
                                                                                   (A) IN GENERAL.—The rule with respect to which the                           Time period.
                                                                              Commission is required to issue notice under paragraph
                                                                              (1) shall provide that, during the 1-year period beginning
                                                                              on the date on which that rule takes effect, a low power
                                                                              TV station may apply to the Commission to be accorded
                                                                              primary status as a Class A television licensee under sec-
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                                                                              tion 73.6001 of title 47, Code of Federal Regulations, or
                                                                              any successor regulation.




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                                                                    136 STAT. 6194                             PUBLIC LAW 117–344—JAN. 5, 2023

                                                                                                           (B) CONSIDERATIONS.—The Commission may approve
                                                                                                      an application submitted under subparagraph (A) if the
                                                                                                      low power TV station submitting the application—
                                                                                                                (i) satisfies—
                                                                    Time period.                                      (I) section 336(f)(2) of the Communications Act
                                                                                                                of 1934 (47 U.S.C. 336(f)(2)) and the rules issued
                                                                                                                under that section, including the requirements
                                                                                                                under such section 336(f)(2) with respect to locally
                                                                                                                produced programming, except that, for the pur-
                                                                                                                poses of this subclause, the period described in
                                                                                                                the matter preceding subclause (I) of subparagraph
                                                                                                                (A)(i) of such section 336(f)(2) shall be construed
                                                                                                                to be the 90-day period preceding the date of enact-
                                                                                                                ment of this Act; and
                                                                                                                      (II) paragraphs (b), (c), and (d) of 73.6001 of
                                                                                                                title 47, Code of Federal Regulations, or any suc-
                                                                                                                cessor regulation;
                                                                                                                (ii) demonstrates to the Commission that the Class
                                                                                                           A station for which the license is sought will not cause
                                                                                                           any interference described in section 336(f)(7) of the
                                                                                                           Communications Act of 1934 (47 U.S.C. 336(f)(7)); and
                                                                                                                (iii) as of the date of enactment of this Act, oper-
                                                                                                           ates in a Designated Market Area with not more than
                                                                                                           95,000 television households.
                                                                                                      (3) APPLICABILITY OF LICENSE.—A license that accords pri-
                                                                                                 mary status as a Class A television licensee to a low power
                                                                                                 TV station as a result of the rule with respect to which the
                                                                                                 Commission is required to issue notice under paragraph (1)
                                                                                                 shall—
                                                                                                           (A) be subject to the same license terms and renewal
                                                                                                      standards as a license for a full power television broadcast
                                                                                                      station, except as otherwise expressly provided in this sub-
                                                                                                      section; and
                                                                                                           (B) require the low power TV station to remain in
                                                                                                      compliance with paragraph (2)(B) during the term of the
                                                                                                      license.
                                                                                                 (d) REPORTING.—Not later than 1 year after the date of enact-
                                                                                            ment of this Act, the Commission shall submit to the Committee
                                                                                            on Commerce, Science, and Transportation of the Senate and the
                                                                                            Committee on Energy and Commerce of the House of Representa-
                                                                                            tives a report regarding the implementation of this section, which
                                                                                            shall include—
                                                                    List.                             (1) a list of the current, as of the date on which the
                                                                                                 report is submitted, licensees that have been accorded primary
                                                                                                 status as Class A television licensees; and
                                                                                                      (2) of the licensees described in paragraph (1), an identifica-
                                                                                                 tion of each such licensee that has been accorded the status
                                                                                                 described in that paragraph because of the implementation
                                                                                                 of this section.
                                                                                                 (e) RULE OF CONSTRUCTION.—Nothing in this section may be
                                                                                            construed to affect a decision of the Commission relating to comple-
                                                                                            tion of the transition, relocation, or reimbursement of entities as
                                                                                            a result of the systems of competitive bidding conducted pursuant
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                                                                                            to title VI of the Middle Class Tax Relief and Job Creation Act
                                                                                            of 2012 (47 U.S.C. 1401 et seq.), and the amendments made by




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                                                                                        PUBLIC LAW 117–344—JAN. 5, 2023                                    136 STAT. 6195

                                                                    that title, that are collectively commonly referred to as the ‘‘Tele-
                                                                    vision Broadcast Incentive Auction’’.

                                                                       Approved January 5, 2023.




                                                                    LEGISLATIVE HISTORY—S. 3405:
                                                                    CONGRESSIONAL RECORD, Vol. 168 (2022):
                                                                         Dec. 21, considered and passed Senate.
                                                                         Dec. 22, considered and passed House.
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